             Case 1:18-bk-10098-MB            Doc 708 Filed 10/09/18 Entered 10/11/18 16:53:12                Desc
                                               Main Document     Page 1 of 3
                                                                                                    FILE D
             1                                 UNITED STATESBANKRUPTCY COU T 0CT -9 2212
             2                                  CENTRAL  DISTRICT
                                                 SAN FERNANDO     OF CALI
                                                               VALLEY    FORNI
                                                                       DIVISIO  kY
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                                                                                                     '         oepqtcl.,)
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             3   ln re:                                            CasesN o. :1:18-BK-10098-M B glointly
             4                                                     Administeredl
                 PEN TH OU SE GLOBA L M ED IA ,IN C.,
             5                                                     Chapter 11
                                                 D ebtor.
             6                                                     Jointly Adm inistered with CasesNos.:
                 H                                                 1:18-bk-10099-M B;1:18-bk-10101-M B;
                     AfrectsAllDebtors                             1:1g.bk-10102-M B ;1:18-bk-10103-M B;
             1   Z AffectsPenthouseGlobalMedia,lnc.                1:18 bk-10104-M B;l:18-bk-10105-M B;
                                                                       -


             8   Eql                                               1:18-bk-10106-M B;1:18-bk-10107-M B;
                     AfrectsPenthouseGlobalBroadcasting,Inc.       j:jg-bk-10108-M B; 1:18-bk-10109-M B;
             9   ILIAffectsPenthouseGlobalLicensing,lnc.             1:18-bk-101IO-M B;1:18-bk-1011I-M B;
                 EIZIAffectsPenthouseGlobalDigital,Inc.              1:18-bk-10112-M B;1:18-bk-10113-M B
            10   EJ AffectsPenthouseGlobalPublishing,Inc.           NOTICE OF ADM INISTM TIVE CLAIM
                 (71AffectsGMIOnlineVentures,Ltd.
m
            11   jllqlAfrectsPenthouseDigitalMediaProductions, Inc.
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            12   EIIIAffectsTanDoorMedia,Inc.
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                 EEIAffectsPenthouseImagesAcquisitions,Ltd.
2= <3:9
      M     13   IZ AffectsPureEntertainmentTelecommunications,lnc.
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            14   EEIAffectsXVHUB Group,Inc.
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        H        E(lAffectsGeneralMediaCommunications,Inc.
 E-' <
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 *- Jj      15   IZ AffectsGeneralMediaEntertainment,Inc.
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D                El llAffectsDanniAshe,Inc.
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            16   (7) AfrectsstreamrayStudios, Inc.
m
            17
                          Please take notice thatD avid A .Stevenson dba D S Com puterCare,whose addressand
            18
                 telephone numberare31781Calle DelCieloeCastaiceCA 91384 (818)612-9669,holdsan
            19
            20   administrativeclaim ptlrsuantto 11U.S.C.j503asfollows:
            21            NameofDebtorts)liableonclaims:PenthouseGlobalM edia.lnc.
                          AmountofAdm inistrative Claim :$ 3.730.80
            22
                          BasisofA dm inistrative Claim : Com puterwork provided to Trustee
            23
            24            Paymentand/ornotices/objectionsshouldbesent/directedto:
                          D S Com puterCare
            25            31781 Calle DelCielo
                          Castaic-CA 91384
                               -

            26
                 D ated: October2-2018                                         Respectfully subm itted,
            27
            28                                                             j

                 DOCS LA :3l5439.I32277/001
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                                         Main Document     Page 2 of 3
                                                                                                       Invoice
    DS C o m p uier C a re                                                                           Date             Invoice #
    31781 Calle D elCielo                                                                         6/28/2018             300
    Castaic,CA 91384



       BillTo
     PenthouseGlobalM ediw inc.                                                             Cmm putœt t-w ze
     David K.Gottlieb                                                            C om puter,Network & IT Solutions
     Chapter llTrustee

                                                                         ,- -              David A .Stevenson
                                                                                                   818-612-9669
                                                                                          Davidlo-idsç?ol-rtfluterqtçL
                                                                                                                     lre.com




Date Serviced                       Description ofW ork Completed                           Hours        Rate          Am ount
  6/11/2018     OnsiteatPenthouse GlobalM ediatoclone hard drivesand makebackupsof           4              150.00           600.00
                computers. M etDavid Robertsand did awalk through ofthecomputersto
                clone,Kelly Holland metusand refused to Ietusdoourwork,wecalledLinda
                Cantorwho talkedto thebuyersIawyersand wewere asked usto comeback on
                Tuesday 6-12-2018to startthework.
  6/14/2018     WenttostoretogetIast2remainingUSB HardDrives(neededto know what                             150.00           450.00
                capacitytoget),OnsiteatPenthouseGlobalMediatocopyexportedOffice365
                Data(roughly 200GB)from adownloadthatwascreatedbyM annassi1T,
                when larrived onsiteeveryonewasgone,and Graham M annassirefused to help
                m ecopy thedata,stating therehasbeen new developm entsand to callthe
                buyerslawyers.Aftertalking with DavidRobel  'tsandLindaCantorlwastold
                to Ieaveand com ebackata latertime.
  6/25/2018     Onsite atPenthouseGlobalM edia,to meetwith Graham M annassito geta                          150.00           300.00
                copy ofthe exported Office 365Data,buthewasa no show,hereturned my
                phonecallsafterabout30 minutesandtold methattherewasnothing to copy
                sinceeverything thatwasdonewasdeleted perthe buyersIawyers,hetoldme
                hewould reach outto David Gottlieb'softiceto discussextracting thedata
                again and how hisfeeswere going to bepaid,Iknocked on allofthe doorsand
                nobody answered.wasadvised by LindaCantorto Ieaveand everything would
                behandled through the courts.

  6/l1/2018     M ileage                                                                                      32.70            32.70
  6/14/2018     M ileage                                                                                      32.70            32.70
  6/25/2018     M ileage                                                                                      32.70            32.70
                TotalReimbursable Expenses                                                                                     98.10




Thankyou foryourbusiness.

  David@ Dscom putercare.com                        Phone -(818)812-9889                    Total                         $1448.1:
                                                                                                                               ,
T
         Case 1:18-bk-10098-MB              Doc 708 Filed 10/09/18 Entered 10/11/18 16:53:12                            Desc
                                             Main Document     Page 3 of 3
                                                                                                         Invoice
       D S C o m p uier C are                                                                         Date              Invoice #

       31781 Calle D elCielo                                                                        6/28/20l8             30l
       Castaic,CA 91384



          BillTo
        Penthouse GlobalM edia,inc.                                                                   zrzrzz/ez C utœ
        DavidK.Gottlieb
        Chapter llTrustee                                                            C om puter,Network & IT Solutions

                                                                            ,.,- '
                                                                                             David A .Stevenson
                                                                                                     818-612-9669
                                                                                            Df
                                                                                             zvidlçisdsçLtonèLtbltercare.com




    Date Serviced                      Description ofW ork Com pleted                         Hours        Rate          Am ount
      6/l1/2018     W entto Fry'sto buy 14 Hard Drivesand 2 USB Harddrivesto makecopiesof      2             l50.00            300.00
                    data.ConnectwithDavidRobertstogetabackupofthe5QuickBookstiles
                    from theremoteenvironmentwhich wasuploaded to DropBox.
      6/12/2018     OnsiteatPenthouseGlobalM edia, madeclonesof7computersand lUSB                            l50.00         1,950.00
                    HardDrive(lncludingasecondarybackupset)totalof14computersand2USB
                    Hard Drives. Hadto go tostoreto getadditionalequipmentthatweweren'
                                                                                     t
                    awareoftom akesureIwasabletom akea copy ofit.
      6/12/2018     M ileage                                                                                    32.70           32.70




Thank you foryourbusiness.

     David@ Dscom putercare.com                        Phone -(818)812-9889                  Total                          $22:2.7:
                                                                                                                               ,
